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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                         §
    In re:                                               §        Chapter 11
                                                         §
    CORE SCIENTIFIC, INC., et al.,                       §        Case No. 22-90341 (CML)
                                                         §
                         Debtors1                        §        (Jointly Administered)
                                                         §        Dkt. No. 1463

 CERTIFICATE OF NO OBJECTION TO DEBTORS’ MOTION FOR ENTRY OF AN
ORDER CLASSIFYING CERTAIN CLAIMS AS SECTION 510(B) CLAIMS (CLASS 11)
UNDER DEBTORS’ PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION

                   1.       On November 24, 2023, Core Scientific, Inc. and its debtor affiliates, as

debtors and debtors in possession in the above-captioned chapter 11 cases (the “Debtors”), filed

the Debtors’ Motion For Entry of an Order Classifying Certain Claims as Section 510(B) Claims

(Class 11) Under Debtors’ Proposed Joint Chapter 11 Plan Of Reorganization (the “Motion”).

Objections to the First Omnibus Objection were required to be filed and served by December 15,

2023 (the “Objection Deadline”).

                   2.       While the Debtors did not receive any objections to the Motion, the

reference to claims by Morgan Hoffman were removed, as such claims were expunged pursuant

to the Court’s Order dated December 7, 2023 (Docket No. 1522).




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (6074); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific
    Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC
    (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions
    VII, LLC (3198). The Debtors’ corporate headquarters is 210 Barton Springs Road, Suite 300, Austin, Texas 78704.
    The Debtors’ service address is 2407 S. Congress Ave, Suite E-101, Austin, Texas 78704.
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               3.     In accordance with paragraph 44 of the Procedures for Complex Chapter 11

Cases in the Southern District of Texas, the undersigned counsel files this Certificate of No

Objection and represents to the Court that (i) more than twenty-four hours have passed since the

Objection Deadline, (ii) the undersigned counsel is unaware of any unresolved objections to the

First Omnibus Objection to the extent of the claims identified on the amended schedules, and (iii)

the undersigned counsel has reviewed the Court’s docket and no objection to the First Omnibus

Objection appears thereon.

               4.     Therefore, the Debtors respectfully request entry of the proposed order filed

with the Motion, attached hereto as Exhibit A. A redline showing the changes to the Equity

Damages Claims schedule originally filed with the Motion is attached hereto as Exhibit B.

Dated: January 11, 2024
       Houston, Texas
                                             Respectfully submitted,

                                               /s/ Clifford W. Carlson
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                                             Attorneys for the Debtors



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                                    Certificate of Service

I hereby certify that on January 11, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                      /s/ Clifford W. Carlson
                                                     Clifford W. Carlson
